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                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW MEXICO


 NEW MEXICO HEALTH                                )
 CONNECTIONS,                                     )
                                                  )
                        Plaintiff,                )
                                                  )
        v.                                        )
                                                          No. 1:18-cv-00773 JB/KBM
                                                  )
 UNITED STATES DEPARTMENT OF                      )
 HEALTH AND HUMAN SERVICES,                       )
 et al.,                                          )
                                                  )
                        Defendants.               )

                                     JOINT STATUS REPORT

       Plaintiff New Mexico Health Connections (“NMHC”) and Defendants (collectively

“HHS”), by and through their undersigned counsel, respectfully file this Joint Status Report

pursuant to the Court’s October 9, 2018 Order, ECF No. 25, and state as follows:

       1.      On the joint motion of the parties, the Court stayed this case pending further

proceedings in New Mexico Health Connections v. U.S. Dep’t of Health & Human Services, No.

1:16-cv-878 JB/JHR (D.N.M.) (“NMHC v. HHS I”), and ordered the parties to file a joint status

report to propose a schedule for further proceedings in this case within 14 days of the Court’s

ruling on Defendants’ Rule 59(e) motion in NMHC v. HHS I. The Court denied Defendants’ Rule

59(e) motion on October 19, 2018. See Mem. Op. and Order, NMHC v. HHS I, ECF No. 90.

       2.      Separately, as part of the rulemaking regarding Adoption of the Methodology for

the HHS-Operated Risk Adjustment Program for the 2018 Benefit Year Proposed Rule, NMHC

has submitted a comment to HHS that, among other things, asks HHS to reopen the rulemaking

with respect to the 2017 benefit year rule at issue in this litigation. HHS has acknowledged receipt

of that request, which remains pending. See Ex. A.
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       3.      Because HHS’s disposition of NMHC’s request could narrow or eliminate the

dispute in this case, the parties agree that it would conserve judicial resources to provide HHS an

opportunity to respond to NMHC’s request before taking further action in this case.

       4.      Accordingly, the parties respectfully propose that the Court maintain the stay of

proceedings in this case and that the parties file a joint status report by January 4, 2019 to provide

the Court with additional information regarding the status of NMHC’s request and a proposed

schedule for further proceedings in this case.

 Dated: November 2, 2018                              Respectfully submitted,

                                                      JOSEPH H. HUNT
                                                      Assistant Attorney General

                                                      DIANE KELLEHER
                                                      Assistant Branch Director

                                                      /s/ James Powers
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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 2, 2018, I caused the foregoing document to be served
on counsel for plaintiff by filing with the court’s electronic case filing system.




                                           /s/ James Powers
                                           James R. Powers
